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                UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF GEORGIA
                     SAVANNAH DIVISION

ROBERTO BARRERO,

      Movant,

v.                                               Case No. CV415-318
                                                            CR413-121
UNITED STATES OF AMERICA,

      Respondent.

                               ORDER
      Let a copy of this Report and Recommendation be served upon counsel
for the parties. Any objections to this Report and Recommendation must be
filed with the Clerk of Court not later than April 11, 2016. The Clerk shall
submit this Report and Recommendation together with any objections to the
Honorable William T. Moore, Jr., United States District Judge, on April 12,
2016. Failure to file an objection within the specified time means that this
Report and Recommendation may become the opinion and order of the Court,
Nettles v. Wainwright, 677 F.2d 404 (5th Cir. 1982), and further waives the
right to appeal the District Court's Order      Thomas v. Arn, 474 U.S. 140
(1985).
      All requests for additional time to file objections to this Report and
Recommendation should be filed with the Clerk for consideration by the
District Judge to whom this case is assigned.
      SO ORDERED this 28th day of March, 2016.


                                                  UNITED STATES ILkGISTRATE JUDGB
                                                  SOUTHERN DISTRICT OF GEORGIA
